      0:19-cr-00420-JMC       Date Filed 01/02/21      Entry Number 185        Page 1 of 14




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                ROCK HILL DIVISION

United States of America,           )
                                    )                Criminal Action No.: 0:19-cr-00420-JMC
       v.                           )
                                    )                               ORDER
George Alexander Underwood,         )
John Ricardo Neal, Jr., and         )
Robert Andrew Sprouse,              )
                                    )
                      Defendants.   )
___________________________________ )

       This matter is before the court on the Government’s Motion in Limine Seeking Admission

of Evidence of Other Acts Committed by Defendants (ECF No. 169). For the reasons set forth

below, the court GRANTS IN PART and DENIES IN PART the Government’s Motion (Id.).

                            I.      RELEVANT BACKGROUND

       George Alexander Underwood (“Underwood”) was elected Sheriff of Chester County in

November 2012 and served as Sheriff until May 2019. (ECF No. 146 at 1.) During Underwood’s

tenure as Sheriff, Robert Andrew Sprouse (“Sprouse”) served as Underwood’s Chief Deputy and

John Ricardo Neal, Jr. (“Neal”) was a lieutenant in the Chester County Sheriff’s Office. (Id. at 1-

2.)

       On September 16, 2020, a federal grand jury returned a seventeen-count Second

Superseding Indictment against Defendants. (ECF No. 146.) The Second Superseding Indictment

charged:

       •   Underwood with conspiracy, falsification of records in federal investigation,
           federal program theft, deprivation of rights, false statement, tampering, and
           wire fraud;
       •   Neal with conspiracy, falsification of records in federal investigation, federal
           program theft, deprivation of rights, and wire fraud; and
       •   Sprouse with conspiracy, falsification of records in federal investigation,
           federal program theft, tampering, and false statement.

                                                1
        0:19-cr-00420-JMC      Date Filed 01/02/21      Entry Number 185         Page 2 of 14




(Id.)

         On November 20, 2020, the Government filed the instant Motion in Limine to Admit

Evidence of Other Acts (ECF No. 169). Specifically, the Government seeks to admit evidence

that:

         •   As Sheriff, Underwood, with the aid of Neal and Sprouse, abused the power of
             his office to retaliate against other persons, such as political opponents, and
             reward allies;
         •   As Sheriff, Underwood violated the County’s procurement policy, misused
             public funds, and converted public resources for his personal benefit and the
             benefit of his allies; and
         •   During his employment with the Chester County Sheriff’s Office, Neal used
             excessive force against arrestees.

(Id. at 1.) It asserts that such evidence is admissible because it is either intrinsic to the charged

offenses or admissible under Federal Rule of Evidence 404(b). (Id.) The Government “intends to

present most of the proposed evidence through witnesses it already plans to call at trial as part of

its case in chief.” (Id.) Defendants did not submit a response.

                                   II.    LEGAL STANDARD

         “Questions of trial management are quintessentially the province of the district courts.”

United States v. Smith, 452 F.3d 323, 332 (4th Cir. 2006). “The purpose of a motion in limine is

to allow a court to rule on evidentiary issues in advance of trial in order to avoid delay, ensure an

even-handed and expeditious trial, and focus the issues the jury will consider.” United States v.

Verges, No. 1:13-cr-222-JCC, 2014 WL 559573, at *2 (E.D. Va. Feb. 12, 2014). When ruling

upon a motion in limine, a federal district court exercises “wide discretion.” United States v.

Aramony, 88 F.3d 1369, 1377 (4th Cir. 1996) (quoting United States v. Heyward, 729 F.2d 297,

301 n.2 (4th Cir. 1984)).




                                                 2
     0:19-cr-00420-JMC         Date Filed 01/02/21       Entry Number 185         Page 3 of 14




       Federal Rule of Evidence 404(b)(1) provides that evidence “of any other crime, wrong, or

act is not admissible to prove a person’s character in order to show that on a particular occasion

the person acted in accordance with the character.” However, Rule 404(b)(2) states that such

evidence “may be admissible for another purpose, such as proving motive, opportunity, intent,

preparation, plan, knowledge, identity, absence of mistake, or lack of accident.” “To be admissible

under Rule 404(b), the evidence must be (1) relevant to an issue other than the general character

of the defendant, (2) necessary to prove an essential claim or element of the charged offense, and

(3) reliable.” United States v. Sterling, 860 F.3d 233, 246 (4th Cir. 2017). Federal Rule of

Evidence 403 also demands that the evidence’s probative value not be substantially outweighed

by its unfair prejudice to the defendant. Id. at 246-47. “Rule 404(b) is viewed as an inclusive rule,

admitting all evidence of other crimes or acts except that which tends to prove only criminal

disposition.” United States v. Young, 248 F. 3d 260, 271-72 (4th Cir. 2001) (internal quotes and

citation omitted).

       Under Federal Rule of Evidence 401, evidence is relevant if “it has any tendency to make

a fact more or less probable than it would be without the evidence” and “the fact is of consequence

in determining the action.” In assessing relevancy, the “more similar the prior act is . . . to the act

being proved, the more relevant it becomes.” United States v. McLaurin, 764 F.3d 372, 380 (4th

Cir. 2014) (quoting United States v. Queen, 132 F.3d 991, 997 (4th Cir. 1997)). Evidence is

necessary when it is “probative of an essential claim or an element” in a manner not offered by

“other evidence available to the government.” Sterling, 860 F.3d at 247 (quoting Queen, 132 F.3d

at 997-98). To be reliable, evidence must be sufficient to allow the jury to “reasonably conclude

that the act[s] occurred and that the defendant was the actor.” Id. (quoting United States v. Powers,

59 F.3d 1460, 1467 (4th Cir. 1995)).



                                                  3
     0:19-cr-00420-JMC         Date Filed 01/02/21       Entry Number 185        Page 4 of 14




       Rule 404(b) “does not affect the admission of evidence that is intrinsic to the alleged

crime.” United States v. Webb, 965 F. 3d 262, 266 (4th Cir. 2020) (quoting United States v.

Sutherland, 921 F.3d 421, 430 (4th Cir. 2019)). Acts are appropriately classified as intrinsic, and

thus not subject to a Rule 404(b) analysis, “when they are inextricably intertwined [with the

charged conduct] or both acts are part of a single criminal episode or the other acts were necessary

preliminaries to the crime charged.” United States v. Chin, 83 F.3d 83, 88 (4th Cir. 1996) (citation

and internal quotation marks omitted). Put differently, “evidence of other bad acts is intrinsic if,

among other things, it involves the same series of transactions as the charged offense, or if it is

necessary to complete the story of the crime on trial.” Webb, 965 F. 3d at 266. “[E]vidence of acts

committed pursuant to a conspiracy and offered to prove the defendant’s membership or

participation in the conspiracy are not extrinsic evidence, i.e., evidence of other acts, for purposes

of Rule 404(b).” United States v. Melvin, 2007 WL 2046735, at *13 (4th Cir. July 13, 2007).

“Acts committed in furtherance of the charged conspiracy are themselves part of the act charged.

Thus, evidence of such acts constitutes intrinsic evidence-that is, direct evidence of the charged

conspiracy itself.” Id.

                                          III.    ANALYSIS

   A. Alleged prior acts of Defendants’ misuse of their positions

       The Government first seeks to offer evidence of other instances in which Defendants

abused their power to retaliate against or harass others. (ECF No. 169 at 6.) Specifically, the

Government seeks to introduce the following evidence:

       •   Underwood directed a Sheriff’s Office employee to stop and cite a state
           legislator who had opposed Underwood’s wife’s appointment as a magistrate
           judge in Chester County. The deputy understood that Underwood’s request was
           designed to harass the state legislator and would not have issued the citation
           without Underwood’s direction because he was not ordinarily responsible for
           traffic enforcement;

                                                  4
     0:19-cr-00420-JMC         Date Filed 01/02/21       Entry Number 185         Page 5 of 14




       •   Underwood instructed Sheriff’s Office personnel to arrest his predecessor’s
           brother-in-law for driving under the influence in retaliation for a personal
           grievance;
       •   In early 2019, Underwood directed Sheriff’s Office leadership to find a reason
           to jail the Chester County Treasurer because the Treasurer would not approve
           a pay raise for the Sheriff’s Office. The Treasurer was “so concerned about the
           threat that he did not leave his house on New Year’s Eve out of fear that he
           would be falsely arrested”;
       •   Underwood told deputies to surveil a group of local public officials and
           prominent citizens who were considering replacing school resource officers
           with private security and find a reason to arrest or cite them;
       •   Sprouse instructed a Sheriff’s Office employee to perform criminal record
           checks of individuals who criticized Underwood on social media; and
       •   In 2015, Underwood directed a deputy to dismiss drug charges against the son
           of one of Underwood’s biggest political supporters.

(Id. at 6-8.) The Government argues that this evidence is admissible as proof of the charged

conspiracy. (Id. at 8.) In the alternative, it asserts that the evidence is admissible pursuant to Rule

404(b). (Id.)

       Although the prior acts at issue are not specifically alleged in the Second Superseding

Indictment, the court finds that they are admissible because they are intrinsic to the charged

conspiracy. The Second Superseding Indictment alleges that the conspiracy began “at a time

unknown, but at least in and around 2015” and continued until at least in and around May 2019.

(ECF No. 146 at 4.) It contends that Defendants perpetuated the conspiracy by “[u]sing their

positions as law enforcement officers to intimidate others;” “[e]stablishing a climate of fear within

the Sheriff’s Office to direct and secure obedience among subordinates;” and “[a]busing the rights

of others[.]” (ECF No. 146 at 5-6.)

       Here, the alleged prior acts illustrate instances where Underwood and Sprouse “[u]s[ed]

their positions as law enforcement officers to intimidate others;” “[e]stablish[ed] a climate of fear

within the Sheriff’s Office to direct and secure obedience among subordinates;” or “[a]bus[ed] the

rights of others[.]” (Id. at 5-6.) Two of the proposed prior acts, directing Sheriff’s Office


                                                  5
     0:19-cr-00420-JMC         Date Filed 01/02/21      Entry Number 185         Page 6 of 14




leadership to find a reason to jail the Treasurer and dismissing charges against a supporter’s son,

fall squarely within the alleged time period of the conspiracy. It is unclear when the other proposed

acts occurred, but they also appear to fall within the alleged time period of the conspiracy. All of

the prior acts allegedly occurred while Underwood was Sheriff and the Second Superseding

Indictment states that the conspiracy began “at a time unknown” but concerns conduct during

Underwood’s tenure as Sheriff. (Id. at 4.) As a result, the proposed prior acts are admissible as

acts committed in furtherance of the charged conspiracy. See United States v. Janati, 374 F. 3d

263, 270 (4th Cir. 2004) (“It is well established that when seeking to prove a conspiracy, the

government is permitted to present evidence of acts committed in furtherance of the conspiracy

even though they are not all specifically described in the indictment.”). Moreover, the proposed

acts “complete the story of the crime on trial” by providing context reinforcing the acts alleged in

the Second Superseding Indictment. Webb, 965 F. 3d at 266.

        Finally, any prejudice toward Defendants that would result from admission of the

proposed acts would not substantially outweigh the probative value of the proposed acts. As the

evidence will be used to show Defendants’ involvement in the conspiracy, it is naturally no more

sensational than the crime charged.

   B. Alleged prior acts of misuse of public funds and resources by Underwood

       Second, the Government seeks to introduce evidence that Underwood violated

procurement policies, misused public funds, and converted public resources for his personal

benefit and the benefit of his allies during his time as Sheriff. (ECF No. 169 at 9.) Specifically,

the Government intends to introduce evidence that:

       •   Underwood frequently violated the County’s procurement policy and misused
           public funds by purchasing vehicles and equipment with unauthorized funds,
           making purchases without prior approval, and incurring or seeking
           reimbursement for unapproved costs such as travel expenses. Several Chester

                                                 6
     0:19-cr-00420-JMC         Date Filed 01/02/21      Entry Number 185        Page 7 of 14




           County officials and employees responsible for managing County finances
           discussed the violations and unapproved expenditures with Underwood;
       •   Sheriff’s Office employees heard Underwood, Neal, and others discuss routing
           security detail payments through a Chester County Detention Center bank
           account to avoid tax deductions; and
       •   Underwood directed on-duty Sheriff’s Office employees to help prepare for and
           carry out events for the benefit of the Sheriff’s Foundation of Chester County,
           a private non-profit that is not part of the Chester County government.

(Id. at 10-11.) Since the Second Superseding Indictment alleges that Defendants used their

positions to enrich themselves, the Government contends that such prior acts should be admitted

under Rule 404(b) to prove Defendants’ knowledge, intent, and modus operandi. (Id. at 9-11.)

Additionally, the Government claims that proof that Underwood and Neal routed similar payments

from third parties for security details through a Detention Center account is admissible as evidence

intrinsic to the charged conduct. (Id. at 11.)

       The court finds evidence demonstrating that Underwood previously misused public funds

and was informed about the violations for such alleged conduct is admissible under Rule 404(b)

to show knowledge and intent. Such evidence is both relevant and necessary to prove the crimes

charged herein. Underwood is charged with federal program theft under 18 U.S.C. § 666(a)(1)(A),

wire fraud under 18 U.S.C. § 1343, and conspiracy to commit federal program theft and wire fraud

under 18 U.S.C. § 371. (ECF No. 146.) Accordingly, the Government must show that Underwood:

       •   “knowingly” converted local government property valued at $5,000 or more;
       •   “devised or intend[ed] to devise” a scheme to defraud or obtain money by false
           or fraudulent pretenses and transmitted or caused to be transmitted by wire in
           interstate commerce any writings for the purpose of executing such scheme;
           and
       •   conspired to “knowingly” convert local property valued at $5,000 or more and
           “devise[] or intend[] to devise” a scheme to defraud or obtain money by false
           or fraudulent pretenses and transmitted or caused to be transmitted by wire in
           interstate commerce any writings for the purpose of executing such scheme.

See 18 U.S.C. §§ 666(a)(1)(A), 1343, 371. Thus, Underwood’s knowledge of the County’s

procurement policies and intent to violate them are elements the Government must establish to

                                                 7
     0:19-cr-00420-JMC             Date Filed 01/02/21    Entry Number 185         Page 8 of 14




prove the charged crimes. Here, evidence that Underwood violated the County’s procurement

policies on prior occasions and was warned about such violations demonstrates his knowledge of

the policies and intent to defraud. The evidence also appears to be reliable because it will be

introduced through testimony from “Chester County officials and employees responsible for

overseeing managing finances” who “discussed the violations and unapproved expenditures with

Underwood.” (ECF No. 169 at 10); see United States v. Gray, 405 F.3d 227, 240 (4th Cir. 2005)

(finding admitted prior bad acts evidence reliable because “witnesses testified under oath and were

subject to cross-examination, such that [the defendant] had ample opportunity to challenge the

reliability of their accounts”).

        Finally, any prejudice toward Underwood as a result of this evidence does not substantially

outweigh the probative value. “All probative evidence may be prejudicial to the defendant in some

way, but [the Fourth Circuit has] found Rule 404(b) evidence to be unfairly prejudicial when it

inflames the jury or encourages them to draw an inference against the defendant, based solely on

a judgment about the defendant’s criminal character or wicked disposition.” Sterling, 860 F.3d at

248. Here, there is no suggestion that the evidence would invoke emotion in place of reason as a

decisionmaking mechanism. There is also no indication that the evidence would cause any

confusion with respect to the charges actually lodged against Underwood.

        Accordingly, evidence that Underwood previously violated or attempted to violate the

County procurement policy and was warned about such violations is admissible to establish

knowledge and intent under Rule 404(b). However, to ensure that the jury uses the evidence

appropriately, the court will instruct the jury that the evidence is only being admitted for the limited

purpose of proving knowledge and intent. See Queen, 132 F. 3d at 997 (“In cases where the trial




                                                   8
     0:19-cr-00420-JMC        Date Filed 01/02/21     Entry Number 185        Page 9 of 14




judge has given a limiting instruction on the use of Rule 404(b), the fear that the jury may

improperly use the evidence subsides.”).

       Next, the court concludes that evidence demonstrating that Sheriff’s Office employees

heard Underwood and Neal discuss routing security detail payments through a Chester County

Detention Center bank account to avoid tax deductions is not intrinsic to the charged conduct. The

Government only describes such payments as “similar” to the ones alleged in the Second

Superseding Indictment. (ECF No. 169 at 11.) The Government’s Motion also suggests that the

payments are different from the ones alleged in the Second Superseding Indictment, stating that

the payments are from “third parties” rather than the Hazel Pittman Center. (Id.) Thus, there is

no indication that such payments involve “the same series of transactions” or are “necessary to

complete the story of the crime on trial.” Webb, 965 F. 3d at 266.

       Nevertheless, the court finds such evidence to be admissible under Rule 404(b). Testimony

from Sheriff’s Office employees that they heard Underwood and Neal discuss routing the

payments through a specific bank account to avoid tax deductions is relevant and necessary to

establish Underwood’s and Neal’s intent and modus operandi. To convict Underwood and Neal

of wire fraud, the Government must establish beyond a reasonable doubt that Underwood and Neal

“devised or intend[ed] to devise” a scheme to defraud or obtain money by false or fraudulent

pretenses and transmitted or caused to be transmitted by wire in interstate commerce any writings

for the purpose of executing such scheme. 18 U.S.C. § 1343. This testimony will establish that

Underwood and Neal intended to devise a scheme to defraud the Hazel Pittman Center, Chester

County Sheriff’s Office employees, and others. It will also demonstrate that Underwood and Neal

intended to devise a scheme to obtain money by means of false pretenses and intended to transmit

writings by wire in interstate commerce for the purpose of executing their scheme. Thus, the



                                                9
    0:19-cr-00420-JMC        Date Filed 01/02/21      Entry Number 185        Page 10 of 14




evidence will not only establish Underwood’s and Neal’s intent to circumvent the County’s typical

processes through use of the Detention Center account, but also that use of the account was not a

mistake. In addition, the testimony will illustrate Underwood’s and Neal’s modus operandi of

routing security detail payments through a specific Chester County Detention Center account. The

evidence appears to be reliable because it will be introduced through testimony by Sheriff’s Office

employees who witnessed Underwood and Neal discuss the payments. (ECF No. 169 at 10-11);

see Gray, 405 F.3d at 240.

       Additionally, testimony that Underwood and Neal routed security detail payments through

a Chester County Detention Center account to avoid tax deductions is admissible under Rule 403.

“There is no unfair prejudice under Rule 403 when the extrinsic act is no more sensational or

disturbing than the crimes with which the defendant was charged.” United States v. Sappleton, 68

F. App’x 438, 440 (4th Cir.2003) (citing United States v. Boyd, 53 F.3d 631, 637 (4th Cir.1995)).

As the evidence will be admitted to show Underwood’s and Neal’s intent and modus operandi

with regard to the security detail payments routed through the Chester County Detention Center

account detailed in the Second Superseding Indictment, it is naturally “no more sensational or

disturbing” than the crimes charged. To ensure appropriate use of the evidence, the court will

issue a limiting instruction confining consideration of the testimony to prove Defendants’ intent

and modus operandi.

       Although some alleged prior acts of misuse of public funds are admissible under Rule

404(b), evidence that Underwood required on-duty Sheriff’s Office employees to work on

Sheriff’s Foundation of Chester County events is inadmissible under Rule 404(b).            When

evaluating the Rule 404(b) relevance factor, courts examine “how closely the prior acts relate to

the charged conduct.” Sterling, 860 F. 3d at 247. While the past conduct “need not be identical”



                                                10
    0:19-cr-00420-JMC         Date Filed 01/02/21       Entry Number 185         Page 11 of 14




to the crime charged, the mere fact that a defendant may have been involved in prior criminal

activity does not itself provide “a sufficient nexus to the charged conduct” if the prior activity “is

not related in time, manner, place, or pattern of conduct[.]” Id. (internal citations omitted). Here,

evidence that Underwood directed on-duty Sheriff’s Office employees to work on Sheriff’s

Foundation events does not bear sufficient similarity to the crimes charged to justify its admission.

The Second Superseding Indictment alleges that Defendants “[d]irect[ed] on-duty Sheriff’s Office

employees to provide manual labor and other services … that personally benefitted” Underwood,

Sprouse, and “other members of the Sheriff’s Office leadership team[.]” (ECF No. 146 at 5.) It

does not contend that Underwood directed on-duty employees to work on various projects for the

benefit of the Foundation or even for the benefit of third parties. Given that this evidence would

demonstrate that Underwood misused County resources for the benefit of a party not referenced

in the Second Superseding Indictment, it is too dissimilar from the crimes charged to satisfy the

Rule 404(b) relevance factor. Thus, evidence that Underwood directed on-duty employees to work

on Sheriff’s Foundation events is inadmissible under Rule 404(b).

    C. Alleged prior acts of excessive force by Neal

        Third, the Government seeks to introduce evidence that “[s]everal current and former

deputies have observed Neal ‘rough up’ arrestees while the arrestees were handcuffed or otherwise

restrained.” (ECF No. 169 at 11.) Specifically, the Government intends to introduce evidence

that:

        •   In late 2017 or early 2018, Neal punched a subject multiple times in the face
            while he was handcuffed and seated in a chair;
        •   Several officers have seen Neal slam handcuffed subjects into the side of his
            car and have observed the resulting dents;
        •   One officer observed Neal slam an individual onto the hood of a car after
            pulling him out of line at a local club; and
        •   Neal once used his taser on an individual who was on the ground surrounded
            by multiple officers and was in the process of being handcuffed. He then

                                                 11
    0:19-cr-00420-JMC           Date Filed 01/02/21      Entry Number 185        Page 12 of 14




             pushed the second individual under arrest onto the back of a car with enough
             force to cause him to fall to the ground.

(Id. at 11-12.) As the Second Superseding Indictment contends that Neal violated K.S.’s rights by

knocking him to the ground while handcuffed and injuring his head and arm on November 20,

2018, the Government maintains that the alleged prior acts of excessive force by Neal are

admissible under Rule 404(b) to prove intent and absence of mistake. (ECF Nos. 146 at 8, 11; 169

at 12.)

          The court agrees that the alleged prior acts of excessive force by Neal are admissible under

Rule 404(b) to show intent and absence of mistake. Here, the proposed acts are relevant because

they are sufficiently related to the deprivation of rights charge against Neal. The facts underlying

each prior act of excessive force are not identical to the charged offense. Although the charged

offense only involves Neal knocking K.S. to the ground while handcuffed, the proposed acts also

involve punching and the use of a taser. (ECF No. 169 at 11-12.) However, the court finds them

sufficiently similar in time and substance to be admissible. Each of the proposed acts occurred

during Neal’s employment with the Sheriff’s Office and involves Neal exerting physical force on

arrestees.

          The proposed acts are also relevant and necessary to prove Neal’s state of mind at the time

of the alleged crime. In an excessive force case under 18 U.S.C. § 242, the Government must

prove that the defendant willfully violated the victim’s rights. See 18 U.S.C. § 242. A defendant

can be “held criminally responsible only if he specifically intended to use excessive force.” United

States v. Cossette, 593 F. App’x 28, 30 (2d Cir. 2014). Since the charged offense has a specific

intent mens rea requirement, Neal’s intent is relevant and material. See United States v. Mize, No.

1:18-cr-74, 2020 WL 6382534, at *2 (S.D. Ohio Oct. 30, 2020).




                                                  12
    0:19-cr-00420-JMC         Date Filed 01/02/21      Entry Number 185         Page 13 of 14




       “In prosecuting specific intent crimes, prior acts may often be the only method of proving

intent.” United States v. Johnson, 27 F. 3d 1186, 1192 (6th Cir. 1994). This is especially true with

regard to the “willfulness” standard of 18 U.S.C. § 242. The pattern jury instructions for § 242 are

instructive and state that “[o]ne may be said to act willfully if one acts in open defiance or in

reckless disregard of a known and definite federal right.” Modern Federal Jury Instructions-

Criminal ¶ 17.01, Instruction 17-6 (2019). Such intent “need not be expressed,” but may, instead,

“be reasonably inferred from the surrounding circumstances of the act.” Id. To do so, the jury

“may look at the defendant’s words, experience, knowledge, acts, and their results in order to

decide this issue of willfulness.” Id. The prior acts of excessive force are highly probative of

whether Neal acted “willfully” when he allegedly used excessive force in arresting K.S. As prior

acts are often the only method of proving specific intent crimes such as deprivation of rights, the

proposed prior acts here are necessary to the Government’s case.

       Furthermore, the proposed prior acts will be admitted through the reliable method of

witness testimony. See Gray, 405 F.3d at 240. The Government plans to introduce the evidence

through “[s]everal current and former deputies[.]” (ECF No. 169 at 11.)

       Finally, the Court finds that the unfair prejudice of the alleged prior acts of excessive force

does not substantially outweigh the probative value of the prior acts. As described above, Neal’s

prior excessive force incidents are highly probative of an essential element of the charged offense,

namely, whether Neal committed the alleged crime with the specific intent of willfulness.

Although it is possible that the jury could draw an impermissible character propensity inference,

the court can cure this potential prejudice with a limiting instruction. Accordingly, the court finds

Neal’s prior acts of excessive force admissible under Rule 404(b) to establish intent and absence

of mistake. This conclusion is consistent with other decisions in the Fourth Circuit and across the



                                                 13
    0:19-cr-00420-JMC        Date Filed 01/02/21      Entry Number 185        Page 14 of 14




country. See, e.g., United States v. Cowden, 882 F. 3d 464 (4th Cir. 2018) (finding police officer

defendant’s prior acts of excessive force admissible under Rule 404(b) to establish intent); United

States v. Brown, 250 F.3d 580 (7th Cir. 2001) (concluding prior act of excessive force was

admissible under Rule 404(b) because it was probative of the intent element of 18 U.S.C. § 242);

Mize, 2020 WL 6382534 (admitting prior excessive force incidents involving defendant because

they were probative of intent).

                                      IV.     CONCLUSION

   For the foregoing reasons, the court GRANTS IN PART and DENIES IN PART the

Government’s Motion in Limine Seeking Admission of Evidence of Other Acts Committed by

Defendants (ECF No. 169). The court grants the motion to admit the following evidence:

       •   Defendants’ use of their positions to retaliate against opponents and reward
           allies;
       •   Underwood’s previous violations of the County’s procurement policies and
           knowledge of the violations;
       •   Sheriff’s Office employees’ statements about Underwood and Neal routing
           security detail payments through a Detention Center bank account; and
       •   Neal’s use of excessive force against arrestees.

       However, the court denies the motion insofar as it will not admit evidence showing that

Underwood required on-duty Sheriff’s Office employees to work events related to the Sheriff’s

Foundation of Chester County.

       IT IS SO ORDERED.




                                                              United States District Judge

January 2, 2021
Columbia, South Carolina


                                                14
